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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                                           Case No. 3:08cr83/LAC

MADHUSUDHAN KODURU,
  a/k/a “Madhusudhan Reddy Koduru,”
  a/k/a “Madhu Koduru,”
  a/k/a “John Bloomer”
_______________________________

                     PRELIMINARY ORDER OF FORFEITURE

        WHEREAS, in the Indictment in the above-entitled action, the United States

sought forfeiture from the defendant MADHUSUDHAN KODURU pursuant to Title 18,

United States Code, Sections 981(a)(1), 982(a)(1), (a)(2)(B) and (b)(1), and Title 28,

United States Code, Section 2461(c), the defendant’s interests in any property, real or

personal, involved in the violations set forth in Counts One through Five of said

Indictment and/or any property traceable to such property;

        AND WHEREAS, on or about October 16, 2008, the defendant

MADHUSUDHAN KODURU, pled guilty to Counts One through Five of the

Indictment pursuant to a written plea and cooperation agreement outlining such forfeiture;

        AND WHEREAS, by virtue of said plea agreement, the United States is now

entitled to entry of a Preliminary Order of Forfeiture against all of defendant’s interest in

said property, pursuant to Title 18, United States Code, Sections 981(a)(1), 982(a)(1),
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(a)(2)(B) and (b)(1), and Title 28, United States Code, Section 2461(c) of the Federal

Rules of Criminal Procedure; now wherefore,

       IT IS HEREBY ORDERED:

       1.      That all of defendant’s rights and interest in the property described below

is hereby forfeited to and vested in the United States of America.

       2.      That property which is subject to forfeiture in this Order is as follows:

               A.     The real property known as 1111 Germain Street, Pensacola,

       Florida, lying and being in Escambia County, Florida, and being more

       particularly described in the Official Records at Deed Book 6006, Page 28

       of the public records of Escambia County as follows:

               LOT 16, BLOCK B SUBURBAN ESTATES UNIT NO 1

               SECTION 23 TOWNSHIP 1 S RANGE 30 W 1 PB 6 P 43

               OR 6006 P 28

               B.     The real property known as 1514 West Jackson Street, Pensacola,

       Florida, lying and being in Escambia County, Florida, and being more

       particularly described in the Official Records at Deed Book 6006, Page 83

       of the public records of Escambia County as follows:

               LOTS 23 & 24 BLOCK 84 DB 542 P 144 WEST KING TRACT

               CA 116, SECTION 00, TOWNSHIP 0 S, RANGE 00 W.

               C.     $8,151.00 in U.S. currency seized from the residence of defendant

       MADHUSUDHAN KODURU, 3164 Cedarwood Village Lane, Pensacola,

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  Florida;

         D.     $1,209.00 in U.S. currency seized from Reddy’s Food Mart, 3494

  Olive Road, Pensacola, Florida;

         E.     $15,868.91 in U.S. currency seized from the account of Sai Food

  Mart, Inc. located in Wachovia Bank (now known as Wells Fargo and

  Company Bank) account number ending in 7256, for which signatories

  were defendants MADHUSUDHAN KODURU and RAMAKRISHNA

  REDDY KALVAKUNILA;

         F.     $33,831.37 in U.S. currency seized from the account of Sai

  Food Mart, Inc. in Wachovia Bank (now known as Wells Fargo and

  Company Bank) account number ending in 7379, for which signatories

  were defendants MADHUSUDHAN KODURU and RAMAKRISHNA

  REDDY KALVAKUNILA;

         G.     $1,350.03 in U.S. currency seized from the account of

  Nandi Enterprises, Inc. at Regions Bank, account number ending in 90001, for

  which MADHUSUDHAN KODURU was a signatory; and,

         H.     $49.50 in U.S. currency seized from the account of Sai

  Food Mart, Inc. located in Wachovia Bank (now known as Wells Fargo and

  Company Bank) account number ending in 7382, for which signatories were

  defendants MADHUSUDHAN KODURU and RAMAKRISHNA REDDY

  KALVAKUNILA.

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       3.     That a Preliminary Order of Forfeiture is hereby entered in favor of the

United States against defendant, MADHUSUDHAN KODURU, pursuant to Rule

32.2(b)(1) of the Federal Rules of Criminal Procedure

       IT IS SO ORDERED this 22nd day of January, 2009.

                                    s /L.A. Collier
                                    LACEY A. COLLIER
                                    SENIOR UNITED STATES DISTRICT JUDGE




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